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                                  UNITED STATES DISTRICT COURT
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                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21

22     PATRICK CALHOUN et al., on behalf of             Case No. 4:20-cv-05146-YGR-SVK
       themselves and all others similarly situated,    GOOGLE’S OPPOSITION TO
23
                                                        PLAINTIFFS’ MOTION TO COMPEL
             Plaintiffs,                                DEPOSITION OF SUNDAR PICHAI
24
                    v.                                  Judge: Hon. Susan van Keulen, USMJ
25

26     GOOGLE LLC,

27            Defendant.

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                                                                   Case No. 4:20-cv-05146-YGR-SVK
                                    GOOGLE’S OPPOSITION TO MOTION TO COMPEL PICHAI DEPOSITION
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 1          The apex discovery doctrine is designed to keep in check depositions that “create[] a

 2 tremendous potential for abuse or harassment.” Celerity, Inc. v. Ultra Clean Holding, Inc., 2007

 3 WL 205067, at *3 (N.D. Cal. Jan. 25, 2007). That precept is front and center here. Plaintiffs filed

 4 a “me-too” motion to depose Sundar Pichai, Google’s top executive officer, despite being unable to

 5 cite a single document from his custodial files suggesting unique, first-hand knowledge of issues

 6 relevant to their claims. The best they can do is to point to other employees’ emails and documents

 7 (and a lone presentation in his files that he did not author). Plaintiffs do not meet their burden —

 8 their further efforts to drag Google’s CEO into this litigation should be rejected.

 9          As this Court is aware, a party seeking to depose a high-level executive must show that the

10 deponent has “unique first-hand” relevant knowledge. Apple Inc. v. Samsung Elecs. Co., Ltd, 282

11 F.R.D. 259, 263 (N.D. Cal. 2012). Even if there is unique knowledge, courts preclude such

12 discovery if it “can be obtained from [a] source that is more convenient” or “less burdensome,”

13 noting “the closer [one] is to the apex” of a corporate hierarchy, “the more appropriate the

14 protections of the … doctrine become.” Id.

15          Simply showing that lower-level employees communicated about Mr. Pichai in no way

16 establishes that he has “unique” knowledge. Mot. 2-3. Nor have Plaintiffs exhausted other, less

17 intrusive means of seeking such discovery. Plaintiffs have failed to satisfy the two-part conjunctive

18 apex test and Google has carried its “burden to show why discovery should be denied.” Id.

19 I.      THE DOCUMENTS PLAINTIFFS CITE CONFIRM THAT MR. PICHAI LACKS
           UNIQUE, FIRST-HAND KNOWLEDGE
20
            After receiving nearly seven million pages of discovery since the inception of this case,
21
     Plaintiffs cite a mere ten documents in their quest to depose Google’s most senior executive. Even
22
     within that tiny universe, only one document is from Mr. Pichai’s files (and he did not author it).
23
     Mr. Pichai was not otherwise involved as a sender or recipient on any of the cited emails.
24
            That should be the end of the inquiry. But on top of that, the ESI that has been produced
25
     confirms Mr. Pichai was not involved in daily decision-making for Chrome; rather, other custodians
26
     (such as Chetna Bindra, Greg Fair, and Alex Ainslie) were and they possess more than adequate
27
     knowledge about the Chrome features, privacy considerations, and revenue discussions reflected in
28

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